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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §        CRIMINAL NO. H-09-0424-02
                                                  §
DORIS NGOZI VINITSKI                              §          (Civil Action No. H-12-1554)


                                         MEMORANDUM AND ORDER

            This case is before the Court on Defendant Doris Ngozi Vinitski’s motion to

vacate, set aside, or correct sentence under 28 U.S.C. § 2255 [Doc. # 1064]. The

Court has carefully reviewed all pertinent matters in this criminal case. Based on this

review, the Court’s clear recollection of the relevant proceedings, and the application

of governing legal authorities, Vinitski’s pending motion is denied and the

corresponding civil action (H-12-1554) is dismissed for reasons set forth below.

I.          BACKGROUND

            A federal grand jury in this district returned an indictment against Vinitski and

twelve other defendants charging them with Medicare fraud in connection with the

provision of durable medical equipment. On April 28, 2010, Vinitski entered a plea

of guilty pursuant to a written plea agreement to one count of conspiracy to commit

health care fraud in violation of 18 U.S.C. § 1349.


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            On February 25, 2011, Vinitski sent the Court a letter [Doc. # 871] advising that

she had withdrawn her guilty plea. The Court entered a briefing and hearing schedule

for a formal motion to withdraw the guilty plea. Vinitski, through counsel, filed the

Motion to Withdraw Guilty Plea [Doc. # 976] on April 7, 2011. Following a hearing

on the motion on April 12, 2011, the Court applied the seven-part test discussed in

United States v. Medoza-Mata, 322 F.3d 829 (5th Cir. 2003). The Court concluded

not only that Vinitski was not innocent of the conspiracy charge as a factual matter,

but that Vinitski did not genuinely claim innocence as to that charge. The Court

concluded from the overwhelming evidence, including Vinitski’s statements under

oath at the rearraignment proceeding, that the guilty plea was knowing and voluntary.

The Court denied both the pro se letter motion and the formal motion to withdraw the

guilty plea. See Hearing Minutes and Order [Doc. # 1010].

            Prior to sentencing, the Court considered the Presentence Report (a “PSR”)

prepared by the probation office, Vinitski’s Letter Regarding Responsibility [Doc.

# 1020], and all other matters of record. The Court, in the exercise of its discretion,

sentenced Vinitski to serve 84 months in the custody of the Bureau of Prisons.

Understanding that she had waived her right to an appeal, Vinitski did not pursue a

direct appeal from the conviction and sentence. See, e.g., § 2255 Motion, ¶ 12,

Ground One, (b)(2).


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            Vinitski has now filed a motion for relief from her sentence under 28 U.S.C.

§ 2255 [Doc. # 1064]. Vinitski claims that she received ineffective assistance of

counsel when her attorney failed to request Brady material, failed to raise and present

a duress defense,1 and failed to request a downward departure. Vinitski claims also

that the prosecutor failed to disclose Brady material. After considering the entire

record, the Court concludes that Vinitski’s motion must be dismissed in accordance

with the waiver of collateral review contained in the Plea Agreement.

II.         DISCUSSION

            A.          Standard for Enforcing Waiver of Right to Collateral Review

            A criminal defendant may waive the right to appeal and collateral review, so

long as the waiver is knowing and voluntary. See United States v. White, 307 F.3d

336, 339 (5th Cir. 2002); see also United States v. Bond, 414 F.3d 542, 544 (5th Cir.

2005) (waiver of right to appeal). An “informed and voluntary waiver of the right to

file a 28 U.S.C. § 2255 motion will be enforced.” White, 307 F.3d at 341 (citing

United States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994)). A waiver is enforced

against an ineffective assistance of counsel claim unless the claimed ineffective

assistance directly affected the validity of the waiver or of the plea itself. Id. at 343.



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            Vinitski raises the “duress defense” argument in Ground Three as an ineffective
            assistance of counsel claim and again in Ground Five as a conflict of interest claim.

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If, however, the plea and waiver were knowing and voluntary, and the waiver clearly

covers § 2255 motions, the waiver can be enforced. Id. at 343-44.

            B.          Plea Agreement

            The pending motion must be dismissed because, pursuant to the written plea

agreement in this case, Vinitski expressly waived the right to challenge her conviction

and sentence collaterally under 28 U.S.C. § 2255 [Doc. # 456, Plea Agreement, at

¶ 18]. The waiver refers specifically to relief under § 2255 and states that Vinitski

“knowingly waives” her right to seek § 2255 relief. The Plea Agreement is signed by

Vinitski, and was discussed with her at the time of her rearraignment. The Plea

Agreement includes an acknowledgment that “no threats have been made against the

defendant and that the defendant is pleading guilty freely and voluntarily because the

defendant is guilty.” See id., ¶ 34. It is well settled that an informed and voluntary

waiver of post-conviction relief under 28 U.S.C. § 2255 “is effective to bar such

relief.” United States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994).

            C.          Rearraignment Proceeding

            The transcript of Vinitski’s guilty plea confirms that she understood the charge

against her, understood that she was entering a plea of guilty to the conspiracy charge,

and understood that she was waiving her right to collateral review. At the beginning

of the plea proceeding, Vinitski was placed under oath and advised that she needed


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to tell “the whole truth.” See Rearraignment Transcript [Doc. # 537], p. 3. The Court

instructed Vinitski to let her know if she was “confused in any way” and Vinitski

agreed to do so. See id. at 4. Vinitski responded that she understood that her lawyer

was available to answer any questions or to talk with her at any time she wanted.

Indeed, the Court encouraged Vinitski to talk with her lawyer if “any questions or

concerns” came into Vinitski’s mind. See id.

            Vinitski told the Court under oath that she could read English without any

difficulty and that she had read the Indictment and the Superseding Indictment. See

id. at 5. Vinitski understood the charge against her and told the Court that she was

charged with “conspiracy to commit Medicare fraud.” Id. Vinitski understood that

she was present in the courtroom to decide whether she wanted to plead guilty under

the written Plea Agreement. See id. at 7. Vinitski stated under oath that she was

satisfied with her lawyer, that she had had enough time to talk with him, and that she

would ask him any questions she thought of during the proceeding. See id. at 8. The

Court found that Vinitski was seeking to enter a guilty plea “knowingly, voluntarily,

intelligently, and with the advice of her lawyer.” Id. at 9.

            The Court then explained to Vinitski the rights she would give up if she entered

a plea of guilty. The Court specifically advised Vinitski that she had the right to “see

documents, possibly in addition to what you’ve already seen” but would give up that


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right if she entered the guilty plea. See id. at 12. The Court advised Vinitski that she

would give up the right to challenge non-jurisdictional defects in the prosecution and

would not be able to complain about them if she pled guilty. See id. at 14-15.

            The Court carefully and clearly explained the conspiracy charge. Vinitski

stated under oath that she had read the Plea Agreement and had discussed it with her

lawyer. See id. at 17. Vinitski stated under oath that she had discussed the factual

proffer with her lawyer and had “gone through it last week.” See id. at 17-18. At that

point the prosecutor described what the government would prove at trial against

Vinitski. Vinitski stated under oath that she did not disagree with anything stated by

the prosecutor. See id. at 21. Vinitski stated under oath that she “gained full

participation in the company” and “took over the company” in 2007. Id. at 21-22.

Vinitski stated under oath that the “fraud happened when we established a relationship

for [a co-defendant] to be submitting claim on behalf of Onward Medical.” Id. at 28.

Vinitski repeated that she did not disagree with anything in the factual proffer. Id. at

33.

            The Court explained to Vinitski the sentencing procedure and the maximum

punishment, including imprisonment, fine, supervised release, and special assessment.

See id. at 37-39. The Court also explained to Vinitski that she could be subject to an




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order of restitution. See id. at 37-38. Vinitski stated to the Court under oath that she

understood. See id. at 38, 39.

            Vinitski again told the Court under oath that she had read the entire Plea

Agreement and had discussed it with her lawyer. See id. at 39. The Court explained

to Vinitski that the Plea Agreement was a written contract. See id. at 40. The

prosecutor described the terms of the Plea Agreement, mentioning specifically that

Vinitski was waiving her right to appeal and to collateral review. Id. at 41-42. The

Court also explained to Vinitski that she was waiving her right of appeal or collateral

attack. See id. at 51-52. The Court advised Vinitski that if she signed the Plea

Agreement “[t]here are no appeals and no coming back to have it changed, no 2255s

or motion to vacate or collateral attack or habeases[,]” and Vinitski told the Court

under oath that she understood. Id. at 52.

            After fully explaining to Vinitski the charges against her, the factual proffer, the

Plea Agreement including the waiver of collateral review, and the rights Vinitski

would give up if she entered a plea of guilty, the Court asked Vinitski if she was “still

interested in entering a plea of guilty” and Vinitski said that she was. Id. at 55.

Vinitski pled guilty to the conspiracy count in the Superseding Indictment. Id. at 55-

56.




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            Vinitski told the Court under oath that everything she said during the plea

proceeding had been “completely true,” that she understood the Court’s explanations,

that she had been paying attention, and that she had no questions. See id. at 56-57.

Vinitski told the Court under oath that she was pleading guilty freely and voluntarily,

and that she was ready to sign the written Plea Agreement. See id. at 57. Vinitski

then signed the Plea Agreement in the Court’s presence. See id. at 58.

            The Court found that the plea was supported by facts establishing all the

elements of the conspiracy charge, and that Vinitski intended to do the acts that she

committed. See id. The Court found that Vinitski’s “plea of guilty is voluntarily,

freely, and knowingly made” and that Vinitski understood the consequences of her

guilty plea. See id. The Court found that the plea was an informed one and accepted

Vinitski’s plea of guilty. See id.

            Vinitski’s sworn statements made in open court, particularly during a plea

colloquy, are entitled to a strong presumption of truthfulness. See United States v.

Cothran, 302 F.3d 279, 283-84 (5th Cir. 2002). Those statements establish clearly

that Vinitski’s plea was knowing and voluntary and that she understood fully that she

was waiving her right to seek collateral relief under § 2255.

            D.          Motion to Withdraw Guilty Plea




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            The Court previously considered a challenge by Vinitski to the voluntariness

of her guilty plea and, following a hearing, the Court rejected the challenge and denied

the Motion to Withdraw Guilty Plea. The Court noted that Vinitski was given the

opportunity to ask questions during the plea if there was anything she did not

understand. The Court stated at the conclusion of the hearing that it was “positive”

Vinitski understood exactly what she was doing and had wanted to enter the guilty

plea. The Court recognized that Vinitski disagreed with some collateral allegations

(which Vinitski stated without hesitation during the plea), but noted that Vinitski

agreed that she had entered into a conspiracy to commit health care fraud. The Court

found that Vinitski was guilty of and intended to plead guilty to the conspiracy charge.

The Court found no basis for the withdrawal of the plea and reminded Vinitski that

the Plea Agreement included a waiver of her right to appeal and to seek collateral

review.

            E.          Acceptance of Responsibility

            During the hearing on the Motion to Withdraw Guilty Plea, the Court stated that

Vinitski could lose the sentencing credit for acceptance of responsibility if she did not

meaningfully acknowledge her guilt for the conspiracy. Subsequently, Vinitski signed

a Letter Regarding Responsibility [Doc. # 1020] accepting responsibility for the




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conspiracy and detailing her involvement, including how she benefitted from the

fraud.

            F.          Conclusion Regarding Waiver of Right to Collateral Review

            The Court has reviewed Vinitski’s pleadings and finds no allegation that the

waiver of collateral review itself was tainted by any alleged ineffective assistance of

counsel. Indeed, Vinitski states in the § 2255 Motion that she did not pursue a direct

appeal because she had waived her right to appeal. The Court previously held that the

Vinitski’s guilty plea was knowing and voluntary, that she had counsel available prior

to entering the plea, and that she understood the waiver of her right to collateral

review. Vinitski does not allege facts in the current § 2255 Motion that cast doubt on

the validity of the Plea Agreement, of the guilty plea itself, or of the waiver of

collateral review. Having reviewed the full record and with a clear recollection of the

relevant proceedings, the Court finds without any doubt that the guilty plea and the

included waiver of the right to collateral attack were knowing and voluntary. The

Court concludes, therefore, that Vinitski’s claims are foreclosed by the waiver in the

written Plea Agreement.

III.        CERTIFICATE OF APPEALABILITY

            The defendant’s post-judgment motion for relief from his conviction and

sentence is governed by the Antiterrorism and Effective Death Penalty Act (the


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“AEDPA”), codified as amended at 28 U.S.C. § 2253. Therefore, a certificate of

appealability is required before an appeal may proceed. See Miller-El v. Cockrell, 537

U.S. 322, 336 (2003); see also Hallmark v. Johnson, 118 F.3d 1073, 1076 (5th Cir.

1997) (noting that actions filed under either 28 U.S.C. § 2254 or § 2255 require a

certificate of appealability).

            A certificate of appealability will not issue unless the movant makes “a

substantial showing of the denial of a constitutional right,” 28 U.S.C. § 2253(c)(2),

which requires a movant to demonstrate “that reasonable jurists would find the district

court’s assessment of the constitutional claims debatable or wrong.” Tennard v.

Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)). Under the controlling standard, a movant must show “that reasonable jurists

could debate whether (or, for that matter, agree that) the petition should have been

resolved in a different manner or that the issues presented were ‘adequate to deserve

encouragement to proceed further.’” Miller-El, 537 U.S. at 336. Where denial of

relief is based on procedural grounds, the movant must show not only that “jurists of

reason would find it debatable whether the petition states a valid claim of the denial

of a constitutional right,” but also that they “would find it debatable whether the

district court was correct in its procedural ruling.” Slack, 529 U.S. at 484.

            A district court may deny a certificate of appealability, sua sponte, without


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requiring further briefing or argument. See Alexander v. Johnson, 211 F.3d 895, 898

(5th Cir. 2000). The Court concludes that jurists of reason would not debate whether

any Vinitski knowingly and voluntarily waived her right to pursue collateral relief

from her conviction and sentence. Accordingly, a certificate of appealability will not

issue.

IV.         CONCLUSION AND ORDER

            For all of the foregoing reasons, it is hereby ORDERED that Vinitski’s motion

for relief under 28 U.S.C. § 2255 [Doc. # 1064] is DENIED and the corresponding

civil action H-12-1554 is DISMISSED with prejudice. It is further

            ORDERED that Vinitski’s Motion for Free Transcript [Doc. # 1067] and

Motion for Appointment of Counsel [Doc. # 1068] are DENIED. It is further

            ORDERED that a certificate of appealability is DENIED.

            The Clerk’s Office will provide a copy of this order to the parties and will file

a copy of this order in Civil Action No. H-12-1554.

            SIGNED at Houston, Texas, this 5th day of June, 2012.




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